         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 1 of 8




                                   STATEMENT OF FACTS

        Your affiant, Deryck Parks, is a Task Force Officer detailed to the Federal Bureau of
Investigation. I am currently tasked with investigating criminal activity in and around the Capitol
grounds that occurred on January 6, 2021. As a Task Force Officer, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
             Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 2 of 8




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       The government received information through legal process that Facebook UID
100047172724820 was livestreaming video in the Capitol during these events.1 Law enforcement
obtained three livestream videos from Facebook UID 100047172724820 and determined that the
user of the account was CHRISTOPHER SPENCER (C. SPENCER). A complaint and arrest
warrant was issued for C. SPENCER by U.S. Magistrate Judge Zia M. Faruqui on January 18,
2021, for violating 18 U.S.C. § 1752(a)(1) and (2); 40 U.S.C. § 5104(e)(2)(D),(G); and 18 U.S.C.
1512(c)(2). C. SPENCER was arrested on January 19, 2021, in North Carolina.

        On January 19, 2021, the FBI interviewed both C. SPENCER and Virginia Marie Spencer
AKA Jenny Spencer (J. SPENCER), who is C. SPENCER’s wife. J. SPENCER indicated that
they had decided to travel to D.C. as part of a caravan organized by ENoCH, a Twitter personality.2
According to J. SPENCER, they met the caravan but ultimately drove separately to D.C. She
further advised that they parked and attended the rally.

        During the interview, J. SPENCER stated that the (now former) President was saying we’re
going to march to the Capitol. According to J. SPENCER, they then agreed with each other to
walk towards the Capitol, see it, and then go home. As they approached the Capitol, a bunch of
people who looked like a militia group were marching and saying something to the effect of screw
Antifa (but were using different words). She then advised that they then started walking behind
the militia-looking group following them.

        J. SPENCER stated that they were standing by some gates before you get to the steps of
the Capitol, which the police had blocked off.3 Closer to the Capitol, she saw officers arresting a
man who ran up by the scaffolding. She saw people climbing on another set of scaffolding. She
saw officers shooting tear gas and percussion grenades into the crowd directly in front of the
officers, but that the SPENCERS were way out to the side of that crowd.

        J. SPENCER explained that they then turned around, but couldn’t move because of the
other people around them. She stated that they finally were able to push their way back further to
where the pillar was. According to J. SPENCER, the crowd then started pushing. She indicated
she could not get away because she was afraid of being trampled. J. SPENCER stated that they
went inside, through the doors, as everyone was pushing that direction. J. SPENCER then advised
that they told each other something to the effect of “we gotta get out of here.” She stated that she
then saw the police officers in riot gear and went out the first exit. According to J. SPENCER,
they weren’t in there for even 15 minutes.



1
    A Facebook UID is a unique number assigned to an individual’s Facebook profile.
2
 https://wbckfm.com/michigan-man-organizing-caravan-for-historic-large-president-trump-rally/ (last accessed
January 30, 2021).
3
 J. SPENCER indicated that she was not in a position to see what happened but “one of the issues” is that officers
moved the barriers out of the way.
         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 3 of 8




        J. SPENCER said she was wearing a gray toboggan, black facemask, and a Ryan Upchurch
jacket with a gun control message (see photos below which show J. SPENCER displaying the
jacket during her interview).




J. SPENCER said she took pictures outside the Capitol but that she did not take any pictures or
video of anything inside the Capitol.

       Video aa3a383cfd1da1e7068cd856e071eeac.mp4 captures both C. SPENCER and J.
SPENCER as part of a crowd inside the Crypt. They are among a large, tightly packed crowd of
people apparently being held back by police officers. C. SPENCER says, “Wooh! We in this
motherfucker!” He then lowers his neck gaitor and says, “Bro, they stormed the Capitol,
bro…pushed the cops out of the way, everything…took it over.” Suddenly, the crowd, including
the SPENCERs, rushes further forward into the building and starts chanting, “Who’s House? Our
house!” and “Stop the steal!” repeatedly.




J. SPENCER can be seen in the below screenshots from this video wearing a patterned toboggan,
black facemask, and a dark colored hoodie.
         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 4 of 8




       Video 9d7de52208ae7577d9e67f47ea88ab40.mp4 captures the SPENCERS entering into
the wing where the Speaker of the House’s offices are located.




As the SPENCERS continue walking into the office hallway, C. SPENCER says, “Where’s
Nancy’s office?” He then turns with his family to leave, walking into Statuary Hall. Still shots of
his video below show his passage through the hall.




The image below depicts a comparison photo from the Architect of the Capitol for the same area
depicted in C. SPENCER’s video. https://www.aoc.gov/explore-capitol-campus/art/about-
national-statuary-hall-collection (last visited January 18, 2021).
         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 5 of 8




U.S. Capitol surveillance video also captures the SPENCERS inside Statuary Hall. See the below
redacted surveillance video still shots.




J. SPENCER is shown more clearly on C. SPENCER’s video, wearing the patterned toboggan,
black facemask, and a dark colored hoodie with the circular white logo on the front, just before
leaving Statuary Hall.




        As he walks through Statuary Hall, C. SPENCER says, “Who would’ve knew the first time
I ever come would be to storm.” He then moves towards the entry doors to the House of
Representatives where a crowd is gathered chanting, “Stop the steal. Stop the steal.” Later you
can also hear screams of, “Open the door!” The video ends with chants of, “Break it down! Break
it down! Break it down!” At approximately 4:15 into the video, it appears that C. SPENCER yells
“kick that motherfucker open!” as others are shouting “push” and attempting to push through the
closed door. J. SPENCER is visible nearby her husband in this area as well.
         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 6 of 8




          Another video – ebe11b28fc0dfd2b4119776c9818cfef – shows C. SPENCER gathered
with others, including J. SPENCER, in a hallway. J. SPENCER appears to speak with law
enforcement officers before walking back to talk to C. SPENCER. She says, “(unintelligible) this
is not only for us, this is for y’all too.” C. SPENCER says, “What’d he say?” She says, “He said,
I know but the points been made…the points been made. I said, well it’s bullshit. He said, I know
it is, I know it is.”




        Male voices can be heard yelling at the officers guarding a door nearby, “When’s the last
time this happened in America?” “You still believe Joe Biden won?” “Hey when’s the last time
you dealt with this in the Capitol? Never!” Individuals can be heard yelling vulgarities at police
officers and taunting the officers. SPENCER then turns the camera and said “What up Alec? We
done stormed the Capitol building, bro. They done teared us.”

        The crowd yells at police officers who are fighting their way through a doorway to get
down the hall. Men are heard calling them “fucking traitor,” “pig,” and “fascist.” People began
sliding furniture down the hallway towards the officers. C. SPENCER yells, “Smile motherfucker!
Smile bitch! Fucking traitor!”
         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 7 of 8




        Of note, these videos last for over 20 minutes total. The SPENCERS do not appear to be
actively searching for exits during these videos, instead C. SPENCER joins in with the chanting
and comments to his viewers on Facebook live. Also, the Capitol surveillance video shows J.
SPENCER using her phone in what appears to be an attempt to videotape the event in the
Statuary Hall connector.




         Based on the foregoing, your affiant submits that there is probable cause to believe that J.
SPENCER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
         Case 1:21-cr-00147-CKK Document 1-1 Filed 02/05/21 Page 8 of 8




        Your affiant submits there is also probable cause to believe that Jenny Spencer violated 40
U.S.C. § 5104(e)(2)(D),(G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Deryck Parks
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this the 5th day of February 2021.
                                                                       Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2021.02.05 17:58:15
                                                                       -05'00'
                                                      __________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
